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     ""'AD 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COURtAUG 29 PH 3: 01
                                                                                                                                                 H;~

                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                         '::.. '·;;;H.'. ,I/f/""'"
                     UNITED STATES OF AMERICA                                          AMENDED JUDGMENT IN A CRIMINAL CASE
                                         v.                                            (For Offe~ses Committe~ On or After November I, l~) TY

                            Vincina Morineau -14                                       Case Number: II-cr-03486-JAH-14

                                                                                       Richard Brian Rodriguez
                                                                                       Defendant's Anomey
     REGISTRATION NO. 28142298
    181 Modification of Supervision Conditions (18 U.S.c. § 3563 (c) or 3583 (e))(restitution)
     THE DEFENDANT:
     181 pk~~pil~~ooM«~~T~w~e=~~e~o=f~t~h~e~~~d=~=~~e~~~.~~~~~~~~~~~~~~~~~~~~~~~~~~
     o      was found guilty on oount{s)_~_~~_~~_ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
18: 1343                               Wire Fraud                                                                                           12




        The detendant is sentenced as provided in pages 2 through                  5          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
                                                              ---------------------------------------------
 181 Count(S)____re:....m;;.;a;;.;in;;.;in:::g"--_ _ _~_ _ _~_~_~~  _ _ _ iS 0 arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00.

  181 No fine                                        0 Forfeiture pursuant to order filed                                       , ~c1uded herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                       of I   POSition~~

                                                                               H        . JOHN A. HOUSTON
                                                                                        ED STATES DISTRICT JUDGE



                                                                                                                                          II-cr-03486-JAH-14
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            September 16, 2013 @2:00pm
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AO 24SB (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 3 ..~ Supervised Release
                                                                                                               Judgment   Page   - L - of _ _5::.-_ _
DEFENDANT: Vincina Morineau -14                                                                        II
CASE NUMBER: ll-cr-03486-JAH-14
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shaH be on supervised release for a term of:
Two years.

         The defendant shall report to the probation office in the district to which the derendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall r~frai~ from any unlawful use of a ~on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from Imprisonment and at least two periodic drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUrIng
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shaH not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d}.               .                                         .
        The defendant shal1 comply with tlie requirements of the Sex Offender Registration ana Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offunder registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D       The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shaH not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                    II-cr-03486-JAH-14
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       AO 245B (CASD) (Rev, Jl12) Judgment in a Criminal Case
                   Sheet 4 ­   Special Conditiolls
                                                                                                           Judgment-Page   ---i.- of _...;;5_ __
       DEFENDANT: Vincina Morineau -14                                                                II
       CASE NUMBER: ll-cr-03486-JAH-14




                                                 SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a ~e~rch, conducted by a U?ited States ~rob~tion Officer ?~ a reasonable ti~e and in a .
    reasonable manner, based upon reasonable suspIcion of contraband or eVidence of a VIOlatIOn of a condItion of release; faIlure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o Not enter or reside in the Republic of Mexico without written permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment andlor schooling or a combination of both.
o Resolve all outstanding warrants within        days.
o Complete hours of community service in a program approved by the probation officer within
o Complete a residential drug treatment program as directed by the Probation Officer.
o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any
     interest obtained under any other name, entity, including a trust, partnership or corporation, until fine or restitution is paid in full.

     Notify the Collections Unit, US Attorney's Office, before transferring any interest in any property owned directly or indirectly, including
     any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until or restitution or fine is paid in
     full.




                                                                                                                                    ll-cr-03486-JAH-14
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A0245S      Jlldb~nenl in Criminal Case
            Sheet 5 .- Criminal Monetary Penalties

                                                                                                     Judgment - Page _~5__ of        5
DEFENDANT: Vincina Morineau                                                                   II
CASE NUMBER: ll-cr-03486-JAH-14
                                                            RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_6_4_6_.4_8_8_.5_3_ _ _ unto the United States of America.




         This sum shall be paid           __ immediately.
                                           /C as follows:
          It is ordered that the defendant pay restitution to JP Morgan Chase in the amount of $646,488.53 through the Clerk, U.S.
          District Court. Payment of restitution shall be forthwith. During the defendant's incarceration, the defendant shall pay
          restitution through the Inmate Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter,
          whichever is greater. The defendant shall pay the restitution during histber supervised release at the rate of $200 per
          month, as directed. These payment schedules do not foreclose the United States from exercising all legal actions,
          remedies, and processes available to collect the restitution judgment.

          Defendants Vincina Morineau and David Morineau shall be jointly and severally liable to pay this restitution.
          Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office of
          any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.

          Restitution shall be payable to:

            JP Morgan Chase
            Attn: Jack Cascio
            575 Washington Blvd, 12th Floor
            Jersey City, NJ 07310




     The Court has determined that the defendant          does not   have the ability to pay interest. It is ordered that:
    K        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    11-cr-03486-JAH-14
